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Proposed Counsel for Debtors

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

IN RE:                                 §
                                       §
SOVRANO, LLC,                          §                               CASE NO. 19-40067-11
MR. GATTI’S, LP,                       §                               CASE NO. 19-40069-11
GATTI’S GREAT PIZZA, INC.,             §                               CASE NO. 19-40070-11
GIGI’S CUPCAKES, LLC,                  §                               CASE NO. 19-40072-11
GIGI’S OPERATING, LLC,                 §                               CASE NO. 19-40073-11
                          1
GIGI’S OPERATING II, LLC,              §                               CASE NO. 19-40074-11
                                       §
      Debtors.                         §                               (Joint Administration Requested)
                                       §
______________________________________ §                               Emergency Hearing Requested


    JOINT EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
     AUTHORIZING DEBTORS TO USE CASH COLLATERAL OF EQUITY BANK, (II)
      GRANTING ADEQUATE PROTECTION, (III) MODIFYING THE AUTOMATIC
                  STAY, AND (IV) SETTING A FINAL HEARING

         Sovrano, LLC, Mr. Gatti’s, LP, Gatti’s Great Pizza, Inc., Gigi’s Cupcakes, LLC and

Gigi’s Operating, LLC (each a “Debtor” and collectively, the “Debtors”) 2 move the Court for entry


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sovrano, LLC (1470); Mr. Gatti’s, LP (0879); Gatti’s Great Pizza, Inc. (6061); Gigi’s
Cupcakes, LLC (8356); Gigi’s Operating, LLC (0621); and Gigi’s Operating II, LLC (8396).
2
  For purposes of this Motion, the term “Debtors” does not include Gigi’s Operating II, LLC.

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of interim and final orders pursuant to §§ 361, 362, 363, and 507 of title 11 of the United States

Code (11 U.S.C. §§ 101 et seq., as amended, the “Bankruptcy Code”) and Rules 4001, 6004(h),

and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”): (i)

authorizing Debtors to use cash collateral of Equity Bank, under the terms and conditions set

forth herein; (ii) granting adequate protection; (iii) modifying the automatic stay to the extent

necessary to implement the relief requested herein; and (iv) scheduling a final hearing with

respect to the relief requested herein (the “Final Hearing”). In support, Debtors show:

                            I.      JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue is

proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory and legal predicates for the relief requested herein are §§ 361, 362,

363 and 507 of the Bankruptcy Code and Bankruptcy Rules 4001, 6004(h) and 9014.

                                    II.     BACKGROUND

A.     General Procedural Background

       3.      On this date, Sovrano, LLC (“Sovrano”), Mr. Gatti’s, LP (“Mr. Gatti’s), Gatti’s

Great Pizza, Inc. (“Gatti’s Great Pizza”) (collectively, “Gatti’s”), Gigi’s Cupcakes, LLC (“Gigi’s

Cupcakes”), Gigi’s Operating, LLC (“Gigi’s Operating”), and Gigi’s Operating II, LLC (“Gigi’s

Operating II”) (collectively, “Gigi’s”) each filed a voluntary petition for relief under Chapter 11

of Title 11 of the United States Code (the “Bankruptcy Code”). The debtors continue to manage

and operate their businesses as debtors-in-possession pursuant to Bankruptcy Code §§ 1107 and

1108. A motion for joint administration of the estates has been filed.




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         4.     No trustee or examiner has been appointed in these bankruptcy cases. No official

committee of unsecured creditors has been appointed.

B.       Business Overview

         5.     Gatti’s restaurants are family-oriented pizza restaurants and entertainment

facilities. Gatti’s operates restaurants and offers franchise opportunities for its Mr. Gatti’s buffet

style restaurants. Gigi’s stores are bakery shops offering a variety of upscale cupcakes baked

onsite, prepared and packaged specifically for delivery, take-out and onsite consumption.

         6.     A detailed factual background of the Debtors’ business and operations and the

events leading up to the commencement of these Chapter 11 cases is more fully set forth in the

Declaration of Dawn M. Ragan, Chief Restructuring Officer, in Support of Debtors’ Chapter 11

Petitions and First Day Motions (the “Declaration”). The Declaration is being filed

contemporaneously with this Motion and is incorporated herein by reference.

C.       Prepetition Indebtedness

         7.     Prior to the Petition Date, certain of the Debtors granted prepetition liens and

security interest to Equity Bank, including cash collateral, under the following documents

(collectively “Equity Bank Loan Documents” or Credit Agreement”):

     •   That certain Term Loan Agreement, dated June 28, 2018, and Term Note in the amount
         of $20,250,000, by and between Equity Bank, as lender, and Sovrano and Mr. Gatti’s,
         LP, as borrowers;

     •   That certain Security Agreement, dated as of June 28, 2018, by and between Equity Bank
         and Sovrano;

     •   That certain Security Agreement, dated as of June 28, 2018, by and between Equity Bank
         and Mr. Gatti’s, L.P.;

     •   That certain Security Agreement, dated as of June 28, 2018, by and between Equity Bank
         and Gatti’s Great Pizza, Inc.;




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   •   That certain Term Loan Agreement, dated June 28, 2018, and Term Note in the amount
       of $9,250,000, by and between Equity Bank, as lender and Gigi’s Cupcakes, LLC and
       Gigi’s Operating, LLC, as borrowers;

   •   That certain Security Agreement, dated as of June 28, 2018, by and between Equity
       Bank and Gigi’s Cupcakes, LLC; and

   •   That certain Security Agreement, dated as of June 28, 2018, by and between Equity Bank
       and Gigi’s Operating, LLC

       8.      To secure each of the Equity Bank Loan Documents, each respective Debtor

granted Equity Bank security interests (collectively, the “Pre-Petition Liens”) in personal

property as defined in the security agreements between Equity Bank and each Debtor

(collectively, the “Pre-Petition Collateral”), including certain cash collateral (“Cash Collateral”).

       9.      In addition, certain of the Debtors also entered into loan agreements and security

agreements with Happy State Bank and JP Morgan Chase Bank, N.A., with respect to certain

equipment loans, secured by certain property and equipment specified below. Specifically,

Debtors entered into the following:

   •   That certain Loan Agreement, dated March 23, 2017, and Promissory Note in the amount
       of $340,000, by and between Happy State Bank, as lender, and Gigi’s Operating, LLC,
       and Gigi’s Operating II, LLC, as borrowers.

   •   That certain Security Agreements dated March 23, 2017, by and between Happy State
       Bank and Gigi’s Operating, LLC, with respect to certain property located at Gigi’s
       Southlake, TX store location; and

   •   That certain Security Agreements dated March 23, 2017, by and between Happy State
       Bank and Gigi’s Operating II, LLC, with respect to certain property located at Gigi’s
       Knoxville, Tennessee store location.

   •   That certain Loan and Security Agreement, dated July 13, 2016, and Interim Promissory
       Note in the maximum amount of $2,500,000, by and among JPMorgan Chase Bank,
       N.A. as lender, and Sovrano, LLC, as borrower and granting a security interest in certain
       equipment and property located at certain stores; and

   •   That certain Security Agreement, dated July 28, 2016, by and between JP Morgan Chase
       Bank, N.A. and Gatti’s Great Pizza, Inc., granting a security interest in certain equipment
       and property located at certain stores.

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D.     Need for Use of Cash Collateral

       10.     Debtors need immediate access to its cash to pay employees and to pay for

ordinary operational expenses. If Debtors are unable to pay employees and pay for continuing

operating expenses, their ability to effectively reorganize will be jeopardized.

                                 III.    REQUESTED RELIEF

       11.     By this Motion, the Debtors respectfully request authorization and approval,

pursuant to §§ 361, 362, 363, and 507 of the Bankruptcy Code and Bankruptcy Rules 4001,

6004(h) and 9014 to use Cash Collateral of Equity Bank on an interim basis in accordance with

the proposed interim order attached hereto as Exhibit C (such order, the “Proposed Interim Cash

Collateral Order” and “Interim Order”) and, after the Final Hearing on this Motion, to use Cash

Collateral in accordance with a final order in substantially the form of the Proposed Interim Cash

Collateral Order (such order, the “Final Cash Collateral Order”), to pay expenses in accordance

with the proposed budget attached as Exhibits A and B (the “Budget”) (including any permitted

variances).

       12.     Without use of cash collateral, Debtors lack sufficient liquidity to meet ongoing

obligations and will be unable to continue operations throughout these cases. Debtors intend to

use cash collateral to fund payroll and operating expenses. Debtors’ estates will be immediately

and irreparably harmed absent approval of the use of cash collateral.

       13.     Debtors request that an interim hearing (the “Interim Hearing”) to consider entry

of the Interim Cash Collateral Order be set at the Court’s earliest convenience following the

Petition Date. Debtors further request that a final hearing be set pursuant to Bankruptcy Rule

4001(c)(2) (the “Final Hearing”) to consider entry of the Final Order.




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         IV.      STATEMENT PURSUANT TO BANKRUPTCY RULE 4001(B)(1)(b)

         14.      A summary of the proposed material terms of the use of Cash Collateral include

the following3:

        A.     Stipulations: Paragraph I of the Proposed Interim Cash Collateral Order provides
that the Debtors will stipulate and agree to the following:

                1.      Credit Agreement. Various loan agreements, promissory notes, security
    agreements, related loan documents and guaranties between and among Equity Bank and
    Debtors as specifically set forth in the Proposed Interim Cash Collateral Order and
    collectively referred to as the “Credit Agreement.”

               2.     Various loan agreements, notes, security agreements and other related loan
    documents entered into by and between JPMorgan Chase Bank, N.A., Happy State Bank and
    various Debtors and/or Gigi’s Operating II, LLC, as specifically set forth in the Proposed
    Interim Cash Collateral Order

                 3.     Pursuant to the Credit Agreement, Equity Bank provided certain credit
    facilities to finance the Debtors’ businesses by making advances, in each case on the terms
    and conditions of the Credit Agreement. All “Obligations” (as such term is defined in the
    Credit Agreement) owed to Equity Bank under the Credit Agreement and the other loan
    documents ( “Pre-Petition Obligations”) are alleged by Equity Bank to be not less than:

Debtor                 Principal as of       Accrued and        Late            Total Balance        Per diem
                       12/31/18              Unpaid             Charges as      and Payoff as        interest
                                             Interest as of     of 1/3/19       of 1/3/19            from and
                                             1/3/2019                                                after 1/3/19
Gigi’s Cupcakes,       $9,006,962.60         $188,516.42        $21,722.10      $9,217,201.12        $2,063.6202
LLC
Sovrano LLC,           $19,254,509.61        $313,681.16                        $19,568,190.77       $3,347.2360
Gigi’s Operating
LLC; Great Gatti’s
Pizza Inc., Mr.
Gatti’s, LP

    In addition to the foregoing, as of January 2, 2019, Debtors Sovrano, LLC, Gigi’s Operating,
    LLC, Gatti’s Great Pizza Inc., and Mr. Gatti’s, LP, failed to make a payment to Equity Bank
    in the amount of $882,400.08 and Debtor Gigi’s Cupcakes, LLC failed to make a payment to
    Equity Bank in the amount of $434,183.16.


3
  The following summary and all other descriptions herein of the terms of the Proposed Interim Cash Collateral
Order are provided for convenience only, and to the extent that the following summary and all other descriptions
herein of the terms of the proposed Interim Cash Collateral Order are inconsistent, the terms of the Proposed Interim
Cash Collateral Order shall control. Capitalized terms not described in the following summary shall have the
meanings ascribed to below in this Motion.

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               4.      To secure payment of the Pre-Petition Obligations, the Debtors granted
   Equity Bank liens and security interests (collectively, the “Pre-Petition Liens”) in personal
   property as defined in the security agreements between Equity Bank and each Debtor
   (collectively, the “Pre-Petition Collateral”).

               5.      The Pre-Petition Liens created by the Credit Agreement and any other
   loan documents are valid, binding, enforceable, properly perfected, non-avoidable, first
   priority liens on the Pre-Petition Collateral with priority over any and all other liens, security
   interests or other interests and are not subject to any challenge or defense, to the best of
   Debtors’ knowledge, information and belief, including without, respectively, avoidance,
   reductions, set-off, offset, recoupment, recharacterization, subordination (whether equitable,
   contractual, or otherwise), counterclaims, cross-claims, defenses or any other challenges of
   any kind under the Bankruptcy Code or any other applicable law or regulation by any person
   or entity.

              6.     Subject to entry of a Final Order, Equity Bank shall be entitled to all of the
   rights and benefits of § 552(b) of the Bankruptcy Code, and the “equities of the case”
   exception under § 552(b) of the Bankruptcy Code shall not apply to Equity Bank with respect
   to proceeds, product, offspring or profits of any of the Pre-Petition Collateral.

              7.      The Debtors waive, discharge and release any rights they may have to
   challenge the Pre-Petition Obligations and Pre-Petition Liens on the Pre-Petition Collateral,
   and to assert any offsets, set-offs, recoupments, defenses, claims, objections, causes of action
   and/or choses of action against Equity Bank with respect to the Pre-Petition Obligations, the
   Pre-Petition Liens or the Pre-Petition Collateral.

               8.     The payments made on account of, and amounts applied to, the Pre-
   Petition Obligations before the Petition Date were payments and applications of Pre-Petition
   Collateral.

               9.      All of the Debtors’ cash, including the cash in its deposit accounts and
   other accounts, wherever located, to the extent it is original Pre-Petition Collateral or
   proceeds thereof, constitutes Cash Collateral of Equity Bank. “Cash Collateral” shall mean
   and include all “cash collateral,” as defined in § 363 of the Bankruptcy Code, in or on which
   Equity Bank has a lien, security interest or other interest (including, without limitation, any
   adequate protection liens or security interests), and shall include, without limitation: (a) all
   cash proceeds arising from the collection, sale, lease, or other disposition, use or conversion
   of any of the Debtors’ property, insurance policies, or in or on which Equity Bank has a lien
   or a replacement lien, whether as part of the Pre-Petition Collateral or pursuant to an order of
   this Court or applicable law or otherwise, and whether such property has been converted to
   cash, existed as of the commencement of this Case, or arose or was generated thereafter; (b)
   all of the respective deposits, refund claims and rights in retainers of the Debtors on which
   Equity Bank has a lien or replacement lien, whether as part of the Pre-Petition Collateral or
   pursuant to an order of this Court or applicable law or otherwise; and (c) the proceeds of any
   sale of Pre-Petition Collateral. Notwithstanding anything to the contrary, Cash Collateral
   shall not include any cash traceable to Gigi’s Operating II, LLC (or any other non-debtor


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   entity) or cash subject to a valid and perfected lien, if any, held by Happy State Bank or JP
   Morgan Chase, N.A.

        B.      Challenge Period: Paragraph 15-17 of the Proposed Interim Cash Collateral
Order provides that the Debtors’ Stipulations shall be binding upon the Debtors, any trustee, and
any party in interest, including the Committee (or if no Committee is formed, any party in
interest granted standing by this Court prior to the expiration of the Challenge Period), unless the
Committee (or such party in interest granted standing) commences, not later than the earlier of
seventy-five (75) days following the Petition Date or sixty (60) days following the formation of
the Committee, or such later date as Equity Bank agrees in writing to grant to such parties in
interest (such time period shall be referred to as the “Challenge Period.”

       C.       Adequate Protection: As adequate protection for the use of Equity Bank’s Cash
Collateral, Paragraph 10 of the Interim Order provides the following:

      i.       Replacement Liens. Subject to any otherwise unavoidable and duly perfected
               liens existing on the Petition Date, Equity Bank is granted continuing, valid,
               automatically perfected nonavoidable and enforceable replacement liens (the
               “Replacement Liens”), in and upon all of the assets (and proceeds thereof) of the
               Debtors described in the Credit Agreement and the other loan documents
               including but not limited to, accounts receivable, and Cash Collateral, whether
               such property (or proceeds thereof) was owned on the Petition Date or acquired
               by any Debtor after the Petition Date (excluding all causes of action under chapter
               5 of the Bankruptcy Code (the “Avoidance Actions”). The Replacement Liens:
               (a) are in addition to the Pre-Petition Liens; (b) are and shall be valid, perfected,
               enforceable, and effective as of the date of the entry of the Interim Order without
               further action by the Debtors or Equity Bank, and without the necessity of the
               execution, filing, or recordation of any financing statements, security agreements,
               mortgages, or other documents; (c) shall secure the payment of indebtedness to
               Equity Bank to the fullest extent of the law, of the Cash Collateral and any other
               Pre-Petition Collateral; and (d) except for ad valorem property taxes, shall not
               hereafter be subordinated to or made pari passu with any other lien or security
               interest arising after the Petition Date under Bankruptcy Code section 364(d) or
               otherwise, absent the consent of Equity Bank. The Replacement Liens shall have
               the same priority as existed on the Petition Date. If, however, Equity Bank, in its
               sole discretion, shall determine to file any such financing statements, mortgages,
               notices of lien or similar instruments, or to otherwise confirm perfection of such
               Replacement Liens, the automatic stay is lifted to allow the filing and recording of
               a certified copy of this Interim Order or any such financing statements, mortgages
               notices of lien or similar instruments, and all such documents shall be deemed to
               have been filed or recorded on the date of this Interim Order.

     ii.       Adequate Protection Superpriority Claims. As further adequate protection of the
               interests of Equity Bank in the Pre-Petition Collateral against any diminution in
               value of such interests caused by a failure of adequate protection under § 507(b)
               of the Bankruptcy Code, Equity Bank is granted, subject to the Carve-Out, as and


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              to the extent provided by § 507(b) of the Bankruptcy Code, an allowed
              superpriority administrative expense claim in each Debtor’s Case and any
              Successor Cases (the “Adequate Protection Superpriority Claims”).
    iii.      Priority of the Adequate Protection Superpriority Claims. The Adequate
              Protection Superpriority Claims shall have priority over all administrative
              expense claims and unsecured claims against the Debtors or their estates, now
              existing or hereafter arising, of any kind or nature whatsoever; provided, however,
              that the Adequate Protection Superpriority Claims shall be subject to the Carve-
              Out. No Adequate Protection Liens shall attach to, and no Adequate Protection
              Superpriority Claims shall be recoverable from avoidance actions unless
              otherwise ordered by this Court.

    iv.       Payment of Equity Bank Costs and Expenses. All reasonable out-of-pocket costs
              and expenses of Equity Bank, including, without limitation, reasonable legal,
              accounting, collateral examination, monitoring and appraisal fees and
              disbursements, financial advisory fees, fees and expenses of other consultants,
              indemnification and reimbursement obligations with respect to fees and expenses,
              and other out of pocket expenses, whether or not contained in the Budget and
              without limitation with respect to the dollar estimates contained in the Budget,
              shall be subject to a determination of secured status by the Court under § 506(a)
              of the Bankruptcy Code.

     v.       Reporting. Debtors shall timely provide Equity Bank, the Committee, if
              appointed, and the U.S. Trustee with (a) (i) a current accounts receivable ledger,
              (ii) a current accounts payable ledger (iii) a monthly report comparing actual
              collections and expenditures (by expense category) on a cash basis to those set
              forth in the Budget (a “Reconciliation Report”); and (iv) monthly financial
              statements to be delivered to Equity Bank not later than twenty (20) days after the
              conclusion of each month in which any Debtor uses Cash Collateral, (b) all
              documents and information submitted by Debtors to the United States Trustee,
              and (c) upon the reasonable request of Equity Bank, such other information
              pertaining to each Debtor’s operations, financial affairs, and the Pre-Petition
              Collateral.

    vi.       Access to Collateral. Upon the request of Equity Bank, the Debtors shall permit
              Equity Bank, respectively, reasonable access to the Pre-Petition Collateral and
              each Debtor’s books and records to conduct inspections and audits.

    vii.      Successor Case. The adequate protection granted to Equity Bank, including
              without limitation the Replacement liens, shall be enforceable against the Debtors,
              their estates, and any successors thereto, including without limitation, any trustee
              or other estate representative appointed in this Chapter 11 case, any case under
              Chapter 7 of the Bankruptcy Code upon a conversion, or in any other proceeding
              superseding or related to any of the foregoing.




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   viii.       No Avoidance of Adequate Protection Payments or Replacement Liens. Subject
               to paragraphs 15 and 16 of the Interim Order, the payments to Equity Bank
               authorized in the Interim Order and the Replacement Liens shall not be subject to
               §§ 510, 549, or 550 of the Bankruptcy Code and shall not be subject to
               subordination, impairment, or avoidance for all purposes in this Case and any
               Successor Case.

        D.       Restrictions on Use of Cash Collateral: Paragraph 3 of the Interim Order
provides that the Debtors are authorized to use Cash Collateral during the period from the
Petition Date through and including the Termination Date subject to and solely in accordance
with the terms, conditions, and limitations set forth in the Interim Order and the Budget, without
further approval by this Court; provided that (a) all use of cash by the Debtors shall be deemed to
be made first from any cash that is not Cash Collateral and thereafter from the Cash Collateral
and (b) neither the Debtors nor any other party in interest (including any party in interest that is
granted standing by this Court pursuant to paragraphs 15 and 16 of the Interim Order) shall be
authorized to use the Cash Collateral for any purpose relating to or in furtherance of an Adverse
Lender Action as defined in the Interim Cash Collateral Order, including without limitation the
payment of professional fees relating to such matters. The Budget may be modified provided
that the Debtors obtain the written consent of Equity Bank, without further order of this Court,
upon the filing of a copy of the modified Budget with the Court. The Debtor’s use of Cash
Collateral may vary weekly by 10% on any line item basis (other than with respect to the
amounts set forth in the Budget for taxes and utility expenses which the Debtors are authorized
to pay in full in the amount reflected on any bill for taxes or utility services incurred).

        E.     Carve Out: Paragraph 4 of the Interim Order provides for a Carve-Out in an
amount equal to the sum of (a) all fees required to be paid to the clerk of the Court or any claims
and noticing agent acting in such capacity and to the Office of the U.S. Trustee under section
1930(a)(6) of title 28 of the United States Code and (b) allowed claims for unpaid fees, costs,
and expenses (the “Allowed Fees”) of the Debtors’ professional fees to include Cash Collateral
in the amount of: (i) $300,000 subject to Court approval under 11 U.S.C. § 330 for fees and
expenses incurred by counsel for the Debtor (Kelly Hart LLP) and its restructuring advisor (CR3
Partners LLC) for services beginning on the Petition Date and rendered up through and including
the earlier to occur of (x) the Termination Date and (y) entry by this Court of an additional
interim or final order authorizing use of Cash Collateral, providing that the Carve-Out shall be
reduced dollar-for-dollar by such Debtors’ post-petition net cash deemed by the Court not to be
proceeds of the Pre-Petition Collateral.

        F.      Termination on Use of Cash Collateral. Paragraph 12 provides that the
Debtors’ right to use Cash Collateral on a consensual basis shall terminate (“Termination Date”)
on the earliest of the following: (a) consummation of a plan of reorganization; (b) February 6,
2019, if the Final Order has not been entered by this Court on or before such date or such later
date as Equity Bank may agree; or (c) in the event of a federal government shut-down which
causes the unavailability of courts, two weeks from the end of such shut-down; or (d) upon
written notice by Equity Bank to the Debtors after the occurrence and continuance of any of the
following events (“Events of Default”) beyond any applicable grace period:



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               (i)     Failure of the Debtors to comply in any material respect with the terms of
       the Interim Order and such failure continues without remedy for more than five (5)
       business days after written notice;
               (ii)    Granting, creating, incurring or suffering to exist by any Debtor any liens
       or security interests other than: (A) those granted pursuant to the Interim Order; (B)
       carriers’, mechanics’, operator’s, warehousemen’s, repairmen’s or other similar liens
       arising in the ordinary course of business for amounts outstanding as of the Petition Date,
       even if recorded after the Petition Date; (C) pledges or deposits in connection with
       workers’ compensation, unemployment insurance and other social security legislation;
       (D) deposits to secure the payment of any post-petition statutory obligations, performance
       bonds and other obligations of a like nature incurred in the ordinary course of business;
       and (E) any other liens or security interests that are junior to the Pre-Petition Liens and
       that a Debtor is permitted to incur under the Credit Agreement;
               (iii) Entry of any order reversing, amending, supplementing, staying, vacating
       or otherwise modifying the Interim Order without the written consent of Equity Bank.
               (iv)    Entry of an order granting relief from the automatic stay to the holder or
       holders of any security interest (other than Equity Bank) to permit foreclosure (or the
       granting of a deed in lieu of foreclosure or the like) on any material assets of any Debtor;
               (v)     From the Petition Date to the Termination Date, the creation of any claims
       or charges, or the entry of any order of this Court authorizing any claims or charges, other
       than as permitted under the Interim Order, entitled to superpriority under section
       364(c)(1) of the Bankruptcy Code pari passu or senior to the Pre-Petition Obligations, or
       there shall arise or be granted by this Court (A) any claim having priority over any or all
       administrative expenses of the kind specified in clause (b) of section 503 or clause (b) of
       section 507 of the Bankruptcy Code, including the 507(b) Claims, or (B) any lien on the
       Pre-Petition Collateral or Post-Petition Collateral having a priority senior to or pari passu
       with the liens and security interests granted herein, except as expressly provided in the
       Credit Agreement or in this Interim Order (but only in the event specifically consented to
       by Equity Bank), whichever is in effect;
               (vi)    Any filing by any Debtor of any motion, pleading, application or
       adversary proceeding challenging the validity, enforceability, perfection or priority of the
       Pre-Petition Liens securing the Pre-Petition Obligations or asserting any other cause of
       action against and/or with respect to the Pre-Petition Obligations, the Pre-Petition
       Collateral, or Equity Bank (or if the Debtor supports any such motion, pleading,
       application or adversary proceeding commenced by any third party);
               (vii) Commencing, joining, assisting or otherwise participating as an adverse
       party by any Debtor or any of its subsidiaries or affiliates in any suit or other proceeding
       against Equity Bank relating to the Pre-Petition Obligations;
               (viii) Dismissing or converting this proceeding to a Chapter 7 case, or
       appointing a Chapter 11 Trustee with plenary powers, a responsible officer, or an
       examiner with enlarged powers relating to the operation of the businesses of the Debtors
       (powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code);
       provided that the appointment by the Court of a trustee or other fiduciary of any Debtor’s
       estate for the limited purpose of investigating, commencing or prosecuting Avoidance
       Actions on behalf any Debtor’s estate shall not constitute a default;



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AUTHORIZING DEBTORS TO USE CASH COLLATERAL AND OTHER RELIEF                            PAGE 11 of 16
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               (ix)    Terminating or reducing by the Court the period pursuant to § 1121 of the
       Bankruptcy Code during which any Debtor has the exclusive right to file a plan or plans
       and solicit acceptances thereof.

        G.     Waivers: In the stipulations, Debtors waive, discharge and release any rights
they may have to challenge the Pre-Petition Obligations and Pre-Petition Liens on the Pre-
Petition Collateral, and to assert any offsets, set-offs, recoupments, defenses, claims, objections,
causes of action and/or choses of action against Equity Bank with respect to the Pre-Petition
Obligations, the Pre-Petition Liens or the Pre-Petition Collateral. Further, in Paragraph 9 of the
Interim Cash Collateral Order Debtors irrevocably waive and shall be prohibited from asserting
any surcharge claim, under section 506(c) of the Bankruptcy Code or otherwise, for any costs
and expenses incurred from the Petition Date to the Termination Date in connection with the
preservation, protection or enhancement of, or realization by Equity Bank upon all or any portion
of the Pre-Petition Collateral and in no event shall such parties be subject to the equitable
doctrine of marshaling or any similar doctrine with respect to all or any portion of the Pre-
Petition Collateral.

                                  V.     BASIS FOR RELIEF

A.     Debtors’ Request to Use Cash Collateral and Proposed Adequate Protection is
       Appropriate

       23.     Under § 363(c)(2) of the Bankruptcy Code, a debtor-in-possession may not use

cash collateral without the consent of the secured party or approval from the Court upon a

finding that the secured party’s interest can be adequately protected.         Section 361 of the

Bankruptcy Code provides a non-exhaustive list of factors that may constitute adequate

protection. A determination of adequate protection is decided on a case-by-case basis and

involves a consideration of the “nature of the creditor’s interest in the property, [and] the

potential harm to the creditor as a result of the property’s decline in value of the method of

protection.” In re Braniff Airways, Inc., 783 F.2d 1283, 1286 (5th Cir. 1986).

       24.     Here, without authority to use the Cash Collateral of Equity Bank, Debtors will

not have sufficient available sources of working capital to pay for normal operating expenses and

thus will be unable to continue to operate their restaurants and shops. Without access to the use

of Cash Collateral, Debtors ability to manage, administer and preserve the Debtors’ estates



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would be immediately and irreparably harmed, thereby materially impairing the estates and

creditors and possibility of a successful reorganization of these chapter 11 cases.

       25.     The disruption in the use of Cash Collateral will adversely affect the ability of

Debtors to operate and would result in the loss of employees, the diminished value of estate

property including collateral securing the interests of various creditors.        The use of Cash

Collateral is critical to the Debtors in order to maintain operations and, in turn, revenues.

       26.     The Budget provides for payment of restructuring costs, including Debtors’

professionals engaged in these chapter 11 cases. As long as secured creditors are adequately

protected or consent, the use of the Cash Collateral to pay Debtors’ professionals is allowed.

Here, Equity Bank is adequately protected and moreover, has consented to Debtors’ use of Cash

Collateral pursuant to the Budget and Interim Order. Debtors’ use of the Cash Collateral of

Equity Bank will not impact the liens or security interests of the other secured creditors, namely,

Happy State Bank and JP Morgan Chase Bank.

       27.     Section 361(2) of the Bankruptcy Code specifically provides that adequate

protection may be provided by “providing to such entity an additional or replacement lien to the

extent that such stay, use, sale, lease, or grant results in a decrease in the value of such entity’s

interest in such property.” 11 U.S.C. §361(2); In re Gary L. Zars, 434 B.R. 421, 431 (W.D. Tex.

2010) (“Adequate protection for such a creditor holding a secured interest or cash collateral

would include . . . additional or replacement liens”).

       28.     Equity Bank is entitled, pursuant to Bankruptcy Code §§ 361 and 363(c) and (e),

to adequate protection of its interests in the Prepetition Collateral, including Cash Collateral,

equal to the aggregate diminution in value of its interests in the Prepetition Collateral.




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Accordingly, Debtors seek to provide Equity Bank with the form of adequate protection provided

in the Interim Order.

       29.     For this reason, the Court should approve Debtors use of cash collateral as

outlined in the Proposed Interim Cash Collateral Order.

B.     The Automatic Stay should be Modified on a Limited Basis

       30.     The proposed Interim Order provides that the automatic stay shall be modified to

i) permit the Debtors to grant Equity Bank the Adequate Protection Liens and Adequate

Protection Superpriority Claims; (ii) permit the Debtors to perform such acts as Equity Bank may

reasonably request to assure the perfection and priority of the liens granted herein; (iii) permit

the Debtors to incur all liabilities and obligations to Equity Bank under the interim and final

orders; and (iv) authorize the Debtors to pay, and Equity Bank to retain and apply, payments

made in accordance with the terms of the interim and final orders. Accordingly, the Court

should modify the automatic stay to the extent contemplated in the proposed Interim Order and

the Final Order.

C.     Immediate Access to Cash Collateral is Necessary

       31.     Federal Rules of Bankruptcy Procedure 4001(b) and 4001(c) provide that a final

hearing on a motion to use cash collateral or may not be commenced earlier than fourteen days

after the service of such motion. Upon request, however, the Court is empowered to conduct a

preliminary emergency hearing on the motion and authorize the use of cash collateral or the

obtaining of credit to the extent necessary to avoid immediate and irreparable harm to a debtor’s

estate pending a final hearing. Debtors request that the Court conduct an emergency Interim

Hearing on this motion to consider Debtors’ request that the Interim Order be entered. Debtors

need to use cash collateral to pay payroll and other operating expenses.          The terms and



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conditions of the Budget are fair and reasonable and reflect the exercise of Debtors’ prudent

business judgment consistent with the fiduciary duties of a debtor-in-possession. The cash

collateral that Debtors propose to spend in the Budget will be in an amount necessary to prevent

the Debtors from suffering immediate and irreparable harm. Accordingly, Debtors request entry

of the Interim Order as soon as possible after a hearing to be conducted within one day of the

filing of this motion.

       32.     To implement the foregoing successfully, Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).

                                         VI.     NOTICE

       33.     Notice of this Motion has been provided to the following parties or, in lieu

thereof, to their counsel, if known: (i) the Office of the United States Trustee for the Northern

District of Texas; (ii) the Debtors’ secured creditors; (iii) the twenty largest unsecured creditors

of each Debtor; and (iv) certain governmental entities. In light of the nature of the relief

requested herein, the Debtors submit that no other or further notice is necessary.

                                      VII.     CONCLUSION

       34.     Debtors request that the Court enter an order: (i) authorizing Debtors to use cash

collateral in accordance with the terms and conditions set forth in this motion, the Budget, and

the proposed Interim Order; (iii) scheduling a preliminary hearing on this motion on a date that is

not later than one day following the filing of this Motion (iv) scheduling a final hearing on this

motion on a date that is not earlier than fourteen days following the filing of this motion; (v)

waiving the notice requirements of Rule 6004(a) and the 14-day stay provided by Rule 6004(h);

and (vi) granting such further relief as appropriate.


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                                              Respectfully submitted,

                                              By: /s/ Michael A. McConnell
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                        EXHIBIT A
Sovrano, LLC                                                                     Updated:       04-Jan-19                                                                                                                  PRELIMINARY & SUBJECT TO CHANGE
Weekly Cash Flow Projection
For Week Ending on Sunday
                                                                                     1/6/2019   1/13/2019   1/20/2019   1/27/2019   2/3/2019   2/10/2019    2/17/2019    2/24/2019   3/3/2019    3/10/2019    3/17/2019    3/24/2019    3/31/2019
                                                                                    FRCST (1)    FRCST       FRCST       FRCST      FRCST       FRCST        FRCST        FRCST      FRCST        FRCST        FRCST        FRCST        FRCST         Total
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DIP Financing                                                              (1)              0           0           0           0          0           0            0            0          0            0            0            0            0
Beginning Cash Balance                                                                 15,000     150,717      24,467      35,463     42,389     124,155      (51,206)      32,660     13,506      127,969       13,705       12,168       16,611      15,000
Receipts - Royalties & Allowances        (2)                                          110,000      96,900     106,900      96,900    106,900     106,000      116,000      106,000    116,000      107,000      116,000      116,000      126,000    1,426,600
Store Receipts - South Park Meadows      (3)                                           25,920      57,557      57,557      57,557     58,093      58,093       58,093       58,093     70,746       70,746       70,746       70,746       70,746      784,694
Store Receipts - Hattiesburg & Spartanbu (3)                                           20,952      50,894      50,894      50,894     60,429      60,429       60,429       60,429     71,372       71,372       71,372       71,372       71,372      772,213
Total Available Funds                                                                 171,872     356,068     239,819     240,815    267,811     348,677      183,316      257,182    271,625      377,088      271,824      270,286      284,729    2,998,507
Expenses
    Payroll & Benefits                                                     (4)              0     159,020      60,500     116,020     27,500     124,270       27,500      139,770     27,500      124,270       27,500      139,770       27,500    1,001,120
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    Contract labor                                                                          0       6,250           0       6,250          0       6,250            0        6,250          0        6,250            0        6,250            0       37,500
    Rent                                                                   (5)                     45,675                                        110,207                                           110,207                                             266,089
    Occupancy                                                              (5)          1,800      17,800      10,800      10,800     10,800      10,800       12,800       10,800     10,800       10,800       12,800       10,800       10,800      142,400
    Administrative                                                         (6)          3,500      21,000      38,500      13,500     13,500      13,500       16,000       13,500     13,500       13,500       16,000       13,500       13,500      203,000
    Store Costs                                                            (7)          3,900      29,900      18,900      18,900     18,900      18,900       22,400       18,900     18,900       18,900       22,400       18,900       18,900      248,700
    Taxes                                                                                   0           0      22,500           0          0           0            0       22,500          0            0            0       22,500            0       67,500
    Misc.                                                                               1,800      24,800       5,000      10,800     50,800      10,800       12,800       10,800     10,800       10,800       12,800       10,800       10,800      183,600
    Inventory                                                              (8)          9,000      26,000      20,000      21,000     21,000      20,000       21,000       20,000     21,000       21,000       20,000       20,000       21,000      261,000
    Insurance                                                                               0           0      27,000           0          0           0       27,000            0          0            0       27,000            0            0       81,000
    Credit Card Fees                                                                    1,156       1,156       1,156       1,156      1,156       1,156        1,156        1,156      1,156        1,156        1,156        1,156        1,156       15,025
Total Operating Expenses                                                               21,156     331,601     204,356     198,426    143,656     315,883      140,656      243,676    103,656      316,883      139,656      243,676      103,656    2,506,934
Restructuring Costs
     Chief Restructuring Officer                                           (9)              0           0           0           0          0      84,000            0            0          0       46,500            0            0            0     130,500
     Financial/Legal/UST Fees & Exps                                       (9)              0           0           0           0          0           0       10,000            0     40,000            0      120,000       10,000       52,800     232,800
Interim Restructuring Payments                                                              0           0           0           0          0      84,000       10,000            0     40,000       46,500      120,000       10,000       52,800     363,300
Total Cash Expenditures                                                                21,156     331,601     204,356     198,426    143,656     399,883      150,656      243,676    143,656      363,383      259,656      253,676      156,456    2,870,234
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Ending Cash                                                                           150,717      24,467      35,463      42,389    124,155     (51,206)      32,660       13,506    127,969       13,705       12,168       16,611      128,273     128,273
Restructuring Fees Accrual / Paymen (9)
    Chief Restructuring Officer                                                         8,000      20,000      20,000      20,000     20,000      12,500       10,000       10,000     10,000        5,000        5,000        5,000        5,000     150,500
    CRO Support Staff                                                                       0      14,000      14,000      14,000     14,000           0            0            0          0            0            0            0            0      56,000
    Legal Advisors                                                                     10,000      25,000      25,000      25,000     25,000      25,000       25,000       25,000     25,000       13,750       13,750       13,750       13,750     265,000
    Expenses and UST Fees                                                                                                  10,000                                           10,000                                                         10,000      30,000
Total Restructuring Fees Accrual                                                       18,000      59,000      59,000      69,000     59,000      37,500       35,000       45,000     35,000       18,750       18,750       18,750       28,750     501,500
    Payments                                                                                0           0           0           0          0     (84,000)     (10,000)           0    (40,000)     (46,500)    (120,000)     (10,000)     (52,800)    (363,300)
Estimate of Unpaid, Accrued Fees                                                       18,000      77,000     136,000     205,000    264,000     217,500      242,500      287,500    282,500      254,750      153,500      162,250      138,200     138,200
Notes:
    (1) - DIP borrowing - Not Available
    (2) - Includes Royalties (reduced by 5%), Mkt & Media Fund & Allowances
    (3) - Store receipts
    (4) - Staff payroll reduced to new schedule
    (5) - Store & Corporate Rents Beginning in February, except non-debtors.
    (6) - Support center general expenses & travel
    (7) - Store operating costs
    (8) - Store product purchases
    (9) - Subject to court approval, CRO expense is paid monthly in arrears; other restructuring professional fees are paid 80% monthly in arrears, 20% holdbacks paid every 120 days; 100% of expenses paid monthly.
                                                                                                                                                                                                                                                                  Prepared By: MFB - v5
                                               Unaudited Draft: Subject to Change
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                        EXHIBIT B
Gigi's Cupcakes, LLC                                  Updated:          04-Jan-19
Weekly Cash Flow Projection
For Week Ending on Sunday
                                                         1/6/2019       1/13/2019   1/20/2019   1/27/2019   2/3/2019    2/10/2019    2/17/2019   2/24/2019   3/3/2019    3/10/2019    3/17/2019 3/24/2019 3/31/2019
                                                         FRCST           FRCST       FRCST       FRCST      FRCST        FRCST        FRCST       FRCST      FRCST        FRCST        FRCST     FRCST     FRCST       Total
Cash Flow                                                                                                                                                                                    PRELIMINARY & SUBJECT TO CHANGE
DIP Financing                                   (1)                 0          0            0          0           0            0           0           0           0            0          0         0        0           0
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Cash Balance                                                  7,000      147,585       90,706     72,892     36,276       (16,323)     72,562      50,747      12,632      (38,718)     55,167    37,353     737       7,000
Receipts - Royalties & Allowances               (2)        125,000             0       10,000          0     10,000      115,000       10,000           0      10,000     125,000       10,000         0        0     415,000
Store Receipts                                  (3)         31,861        56,861       56,861     56,861     52,755       52,755       52,755      52,755      53,034      53,034       53,034    53,034   53,034     678,633
Store Receipts - Columbus, OH                   (3)          3,590         6,140        6,140      6,140     10,245       10,245       10,245      10,245       9,966       9,966        9,966     9,966    9,966     112,817
Total Available Funds                                      167,450       210,585      163,706    135,892    109,276      161,677      145,562     113,747      85,632     149,282      128,167   100,353   63,737   1,213,450
Expenses
   Payroll & Benefits                           (4)               0       56,000       28,000     42,000     16,000       42,000       28,000      42,000      16,000      42,000       28,000    42,000   16,000    398,000
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   Rent                                         (5)               0        6,763            0          0     62,484            0            0           0      62,484           0            0         0        0    131,731
   Occupancy                                    (5)           1,400        7,400        6,400      6,400      6,400        6,400        7,400       6,400       6,400       7,400        6,400     6,400    6,400     81,200
   Administrative                               (6)           3,000        9,250        8,000      8,000      8,000        8,000        9,250       8,000       8,000       9,250        8,000     8,000    8,000    102,750
   Store Costs                                  (7)           3,450       12,950       11,200     11,200     11,200       11,200       12,950      11,200      11,200      12,950       11,200    10,700   10,700    142,100
   Taxes                                                          0            0            0     12,000          0            0            0      12,000           0           0            0    12,000        0     36,000
   Misc.                                                      3,900        7,400        6,400      6,400      6,400        6,400        7,400       6,400       6,400       7,400        6,400     6,400    6,400     83,700
   Inventory                                    (8)           6,500       18,500       13,500     12,000     13,500       13,500       12,500      13,500      12,250      13,500       13,500    12,500   13,500    168,750
   Insurance                                                      0            0       15,699          0          0            0       15,699           0           0           0       15,699         0        0     47,097
   Credit Card Fees                                           1,615        1,615        1,615      1,615      1,615        1,615        1,615       1,615       1,615       1,615        1,615     1,615    1,615     21,000
Total Cash Expenditures                                     19,865       119,878       90,814     99,615    125,599       89,115       94,814     101,115     124,349      94,115       90,814    99,615   62,615   1,212,328
Ending Cash                                                147,585        90,706       72,892     36,276     (16,323)     72,562       50,747      12,632     (38,718)     55,167       37,353      737     1,122      1,122
Notes:
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    (1) - DIP Financing - Not Available
    (2) - Includes Royalties (reduced by 5%), Mkt & Media Fund & Allowances
    (3) - Store receipts
    (4) - Includes staff payroll reductions
    (5) - Rents are scheduled to begin in February.
    (6) - Support center general expenses & travel
    (7) - Store operating costs
    (8) - Store product purchases
    (9) - Professional fees are included on Gatti's; UST fees due in April.
Unaudited Draft: Subject to Change                                                                                                                                                                                              Prepared By: MFB
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                        EXHIBIT C
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

IN RE:                                 §
                                       §
SOVRANO, LLC,                          §                              CASE NO. 19-40067-11
MR. GATTI’S, LP,                       §                              CASE NO. 19-40069-11
GATTI’S GREAT PIZZA, INC.,             §                              CASE NO. 19-40070-11
GIGI’S CUPCAKES, LLC,                  §                              CASE NO. 19-40072-11
GIGI’S OPERATING, LLC,                 §                              CASE NO. 19-40073-11
GIGI’S OPERATING II, LLC,1             §                              CASE NO. 19-40074-11
                                       §
      Debtors.                         §                              (Joint Administration Requested)
                                       §
______________________________________ §                              Emergency Hearing Requested

                   INTERIM ORDER AUTHORIZING THE DEBTORS TO
             USE CASH COLLATERAL OF EQUITY BANK UNDER 11 U.S.C. § 363

         Upon consideration of the Joint Emergency Motion For Entry of Interim And Final Orders

(I) Authorizing Debtors To Use Cash Collateral of Equity Bank, (II) Granting Adequate

Protection, (III) Modifying The Automatic Stay, And (IV) Setting A Final Hearing [Docket No.

__] (the “Motion”) filed by Sovrano, LLC, Mr. Gatti’s L.P., Gatti’s Great Pizza, Inc., Gigi’s

Cupcakes, LLC and Gigi’s Operating, LLC (each a “Debtor” and collectively, the “Debtors”)2

for entry of an interim order (this “Interim Order”), pursuant to §§ 105 and 363 of title 11 of the

United States Bankruptcy Code (the “Bankruptcy Code”), Rules 4001 and 9014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Local Bankruptcy Rules of the

United States Bankruptcy Court for the Northern District of Texas (the “Local Rules”),

(a) authorizing the Debtors to use the Cash Collateral (as defined below) of Equity Bank (as

defined below) in accordance with the terms and conditions set forth herein to finance the

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sovrano, LLC (1470); Mr. Gatti’s, LP (0879); Gatti’s Great Pizza, Inc. (6061); Gigi’s
Cupcakes, LLC (8356); Gigi’s Operating, LLC (0621); and Gigi’s Operating II, LLC (8396).
2
         For purposes of this Interim Order, the term “Debtors” does not include Gigi’s Operating II, LLC.



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operations of the Debtors’ businesses, (b) waiving any applicable stay (including under

Bankruptcy Rule 6004), (c) scheduling a final hearing (the “Final Hearing”), pursuant to

Bankruptcy Rule 4001, to consider entry of a final order (the “Final Order”) granting the

Motion, and (d) granting related relief, and this Court having found that the relief granted herein

is in the best interests of the Debtors, their estates and their creditors; and this Court having

reviewed the Motion and having heard the evidence and statements in support of the relief

requested herein at a hearing before this Court on January 4, 2018 (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

established just cause for the relief granted herein; and after due deliberation and good and

sufficient cause appearing therefore;

            IT IS HEREBY FOUND AND DETERMINED THAT:

            A.   Petition Date. On January 4, 2019 (the “Petition Date”), each Debtor filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code thereby commencing the

above-captioned bankruptcy case (the “Case”).

            B.   Joint Administration Requested.       The Debtors have filed a Motion for Joint

Administration [Docket Number __], seeking consolidation of their respective estates for

administrative purposes only.

            C.   Committee. No request has been made for the appointment of a trustee or

examiner, and no official committee of unsecured creditors (the “Committee”) has yet been

appointed in the Case.

            D.   Jurisdiction and Venue. This Court has jurisdiction over this Case, the parties, and

property pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant to 28




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U.S.C. § 157(b)(2). Venue of this Case is proper with this Court pursuant to 28 U.S.C. §§ 1408

and 1409.

            E.   Principal Place Business. The Debtors’ principal place of business is 550 Bailey

Avenue, Suite 650, Fort Worth, Texas 76107.

            F.   Operation of Business. The Debtors continue to manage their property and operate

their businesses pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

            G.   Pre-petition Secured Party. Equity Bank (“Equity Bank”) is a Kansas chartered

banking organization existing under the laws of Kansas and the laws of the United States and is

the holder of claims against the Debtors within the meaning of § 101(5) of the Bankruptcy Code.

These claims are secured and, accordingly, Equity Bank is entitled to appear and be heard upon

any issue arising herein, as provided under § 109(b) of the Bankruptcy Code.

            H.   Notice. Notice of the Motion and the Interim Hearing has been served by the

Debtors on (a) the Office of the United States Trustee for the Northern District of Texas, (b)

counsel for Equity Bank, (c) the holders of the twenty (20) largest unsecured claims against each

Debtor, (d) the Internal Revenue Service, (e) any persons who have filed a request for notice

pursuant to Bankruptcy Rule 2002, and (f) any such other government agencies to the extent

required by the Bankruptcy Rules and the Local Rules.

            I.   Debtors’ Acknowledgements and Stipulations. In requesting use of Cash

Collateral, and in exchange for and as a material inducement to Equity Bank to agree to permit the

use of Cash Collateral, and subject to paragraphs 15 and 16 below, the Debtors acknowledge,

represent, stipulate, and agree as follows:

                 1.     Credit Agreement. The following constitutes the material promissory notes,

security agreements, related loan documents and guaranties pertaining to the respective parties:




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                                 GIGI’S CUPCAKES LLC

                a.   Term Note dated June 28, 2018, in the original principal amount of

$9,250,000 by Gigi’s Cupcakes, LLC and Gigi’s Operating, LLC;

                b.   Term Loan Agreement dated June 28, 2018, by and between Gigi’s

Cupcakes, LLC and Gigi’s Operating, LLC;

                c.   Security Agreement dated as of June 28, 2018;

                d.   Subordination Agreement dated June 28, 2018, by and among Equity Bank,

Keycorp LLC and Gigi’s Cupcakes LLC;

                e.   Incumbency Certificate and Certificate of Chairman, Vice-Chairman and

Secretary dated June 28, 2018;

                f.   Certification of Beneficial Owner(s) dated June 28, 2018;

                g.   UCC Financing Statement(s);

                h.   Guaranty Agreement dated June 28, 2018, Kyle C. Mann as Guarantor;

                i.   Guaranty Agreement dated June 28, 2018, R.J. Phillips, Jr. as Guarantor;

                j.   Cross Default/Cross Collateral Agreement, dated October 18, 2018 in the

principal amount of $1,070,000 by and among Equity Bank, Gatti’s Great Pizza, Inc., Mr. Gatti’s

L.P., Sovrano, LLC, Gigi’s Cupcakes, LLC Gigi’s Operating, LLC, Robert J. Phillips, Jr. and

Kyle C. Mann.

                                 GIGI’S OPERATING LLC

                a.   Security Agreement dated June 28, 2018;

                b.   Subordination Agreement by and among Equity Bank, Keycorp LLC and

Gigi’s Operating LLC;




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              c.       Incumbency Certificate and Certificate of Chairman, Vice-Chairman and

Secretary;

              d.       UCC Financing Statement(s);

              e.       Guaranty Agreement dated June 28, 2018, Kyle C. Mann as Guarantor;

              f.       Guaranty Agreement dated June 28, 2018, R.J. Phillips, Jr. as Guarantor.

                                GATTI’S GREAT PIZZA, INC.

              a.       Security Agreement dated June 28, 2018;

              b.       UCC Financing Statement(s).

                                       MR. GATTI’S, LP

              a.       Term Note dated June 28, 2018, in the principal amount of $20,250,000, by

Mr. Gatti’s, LP and Sovrano, LLC;

              b.       Security Agreement dated June 28, 2018;

              c.       Limited Guaranty Agreement dated June 28, 2018, Kyle C. Mann,

Guarantor;

              d.       UCC Financing Statement(s).

                                        SOVRANO, LLC

              a.       Deed of Trust, Assignment of Leases, Security Agreements and Financing

Statement dated January 4, 2016 (Mr. Gatti’s, LP);

              b.       Partial Release of Lien dated April 27, 2016;

              c.       Term Loan Agreement dated June 28, 2018, by and between Sovrano, LLC

and Mr. Gatti’s, LP;

              d.       Security Agreement dated as of June 28, 2018;

              e.       Limited Guaranty Agreement, Robert J. Phillips, Jr., Guarantor;




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                   f.     Subordination Agreement by and among Equity Bank, FundCorp, Inc. and

Sovrano, LLC;

                   g.     Incumbency Certificate and Certificate of Chairman, Vice-Chairman and

Secretary dated June 28, 2018;

                   h.     Certification of Beneficial Owners, dated September 20, 2018;

                   i.     UCC Financing Statement(s).

Collectively, the Notes, Loan Agreements, Certificates, UCC Financing Statements, Guaranties,

Subordination Agreements, and other related loan documents set forth in this Paragraph I.1 and

those otherwise related thereto, are hereinafter referred to as the “Credit Agreement.” A true

and correct copy of the Credit Agreement was entered into evidence, and copies of the Credit

Agreement were made available to parties in interest at the Hearing.

                   2.     In addition to Equity Bank, loan agreements, notes, security agreements

and other related loan documents were entered into by and between JPMorgan Chase Bank, N.A.,

Happy State Bank and various Debtors and/or Gigi’s Operating II, LLC, as follows:

    •       That certain Loan Agreement, dated March 23, 2017, and Promissory Note in the amount
            of $340,000, by and between Happy State Bank, as lender and Gigi’s Operating, LLC, and
            Gigi’s Operating II, LLC, as borrowers.

    •       That certain Security Agreement dated March 23, 2017, by and among Happy State Bank
            and Gigi’s Operating, LLC, with respect to certain property located at Gigi’s Southlake,
            TX store location; and

    •       That certain Security Agreement dated March 23, 2017, by and among Happy State Bank
            and Gigi’s Operating II, LLC, with respect to certain property located at Gigi’s and
            Knoxville, Tennessee store location.

    •       That certain Loan and Security Agreement, dated July 13, 2016, and Interim Promissory
            Note in the maximum amount of $2,500,000, by and among JPMorgan Chase Bank,
            N.A. as lender, and Sovrano, LLC, as borrower and granting a security interest in certain
            equipment; and




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    •       That certain Security Agreement, dated July 28, 2016, by and between JP Morgan Chase
            Bank, N.A. and Gatti’s Great Pizza, Inc., granting a security interest in certain equipment.

                   3.      Pursuant to the Credit Agreement, Equity Bank provided certain credit

facilities to finance the Debtors’ businesses by making advances, in each case on the terms and

conditions of the Credit Agreement. All “Obligations” (as such term is defined in the Credit

Agreement) owed to Equity Bank under the Credit Agreement and the other loan documents (as

defined in the Credit Agreement), including, without limitation, all such loans, financial

accommodations, and other amounts owing by the Debtor to Equity Bank under, or in connection

with the Credit Agreement, are hereinafter referred to as the “Pre-Petition Obligations.” The

Pre-Petition Obligations are alleged by Equity Bank to be not less than:

Debtor                  Principal as of Accrued           Late          Total Balance     Per diem
                        12/31/18        and Unpaid        Charges       and Payoff as     interest
                                        Interest as       as of         of 1/3/19         from and
                                        of 1/3/2019       1/3/19                          after 1/3/19
Gigi’s Cupcakes,        $9,006,962.60 $188,516.42         $21,722.10    $9,217,201.12     $2,063.6202
LLC
Sovrano LLC,            $19,254,509.61 $313,681.16                      $19,568,190.77 $3,347.2360
Gigi’s Operating
LLC; Great
Gatti’s Pizza
Inc., Mr. Gatti’s,
LP


In addition to the foregoing, as of January 2, 2019, Debtors Sovrano, LLC, Gigi’s Operating, LLC,

Gatti’s Great Pizza Inc., and Mr. Gatti’s, LP, failed to make a payment to Equity Bank in the

amount of $882,400.08 and Debtor Gigi’s Cupcakes, LLC failed to make a payment to Equity

Bank in the amount of $434,183.16.

                   4.      To secure payment of the Pre-Petition Obligations, the Debtors granted

Equity Bank liens and security interests (collectively, the “Pre-Petition Liens”) in personal




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property as defined in the security agreements between Equity Bank and each Debtor

(collectively, the “Pre-Petition Collateral”).

               5.       The Debtors acknowledge and agree that the Pre-Petition Liens created by

the Credit Agreement and any other loan documents are valid, binding, enforceable, properly

perfected, non-avoidable, first priority liens on the Pre-Petition Collateral with priority over any

and all other liens, security interests or other interests and are not subject to any challenge or

defense, to the best of Debtors’ knowledge, information and belief, including without,

respectively, avoidance, reductions, set-off, offset, recoupment, recharacterization, subordination

(whether equitable, contractual, or otherwise), counterclaims, cross-claims, defenses or any other

challenges of any kind under the Bankruptcy Code or any other applicable law or regulation by

any person or entity.

               6.       Subject to entry of a Final Order, Equity Bank shall be entitled to all of the

rights and benefits of section 552(b) of the Bankruptcy Code, and the “equities of the case”

exception under section 552(b) of the Bankruptcy Code shall not apply to Equity Bank with

respect to proceeds, product, offspring or profits of any of the Pre-Petition Collateral.

               7.       The Debtors waive, discharge and release any rights they may have to

challenge the Pre-Petition Obligations and Pre-Petition Liens on the Pre-Petition Collateral, and to

assert any offsets, set-offs, recoupments, defenses, claims, objections, causes of action and/or

choses of action against Equity Bank with respect to the Pre-Petition Obligations, the Pre-Petition

Liens or the Pre-Petition Collateral.

               8.       The payments made on account of, and amounts applied to, the Pre-Petition

Obligations before the Petition Date were payments and applications of Pre-Petition Collateral.




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               9.      All of the Debtors’ cash, including the cash in its deposit accounts and

other accounts, wherever located, to the extent it is original Pre-Petition Collateral or proceeds

thereof, constitutes Cash Collateral of Equity Bank. For purposes of this Interim Order, the term

“Cash Collateral” shall mean and include all “cash collateral,” as defined in § 363 of the

Bankruptcy Code, in or on which Equity Bank has a lien, security interest or other interest

(including, without limitation, any adequate protection liens or security interests), and shall

include, without limitation: (a) all cash proceeds arising from the collection, sale, lease, or other

disposition, use or conversion of any of the Debtors’ property, insurance policies, or in or on

which Equity Bank has a lien or a replacement lien, whether as part of the Pre-Petition Collateral

or pursuant to an order of this Court or applicable law or otherwise, and whether such property

has been converted to cash, existed as of the commencement of this Case, or arose or was

generated thereafter; (b) all of the respective deposits, refund claims and rights in retainers of the

Debtors on which Equity Bank has a lien or replacement lien, whether as part of the Pre-Petition

Collateral or pursuant to an order of this Court or applicable law or otherwise; and (c) the

proceeds of any sale of Pre-Petition Collateral. Notwithstanding anything to the contrary, Cash

Collateral shall not include any cash traceable to Gigi’s Operating II, LLC (or any other non-

debtor entity) or cash subject to a valid and perfected lien, if any, held by Happy State Bank or JP

Morgan Chase, N.A.

               10.     Equity Bank is not a control person or insider of any Debtor by virtue of

any of the actions taken or to be taken in respect of or in connection with the Pre-Petition

Obligations.




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            J.   Entitlement to Adequate Protection. Equity Bank is entitled, pursuant to sections

361, 362(c)(2), 363(e) and 364(d)(l) of the Bankruptcy Code, to adequate protection of its interest

in the Pre-Petition Collateral, including the Cash Collateral.

            K.   Need for Use of Cash Collateral. The Debtors require use of Cash Collateral to

preserve the value of Debtors’ businesses, satisfy payroll obligations and other necessary working

capital and general corporate purposes of the Debtors consistent with the Budget (as defined

below) attached hereto as Exhibit A and B, and pay necessary and reasonable fees incurred in

connection with this Case. If the Debtors do not obtain authorization to use Cash Collateral, the

Debtors, and their estate, will suffer immediate and irreparable harm. The use of the Cash

Collateral is therefore of the utmost significance and importance to the preservation and

maintenance of the value of the Debtors and their estates.

            L.   Consent to Use Cash Collateral. Equity Bank consents to the use of Cash

Collateral in accordance with the Budget; provided, however, that (1) such consent is expressly

conditioned upon the entry of this Interim Order, (2) such consent shall not be deemed to extend

to any debtor-in-possession financing, (3) such consent shall not be deemed a basis to deny or

impair Equity Bank’s entitlement to adequate protection, and (4) such consent shall be of no force

and effect in the event this Interim Order is not entered or is vacated or modified in any respect

without the consent of Equity Bank.

            M.   Good and Sufficient Cause Shown. Good cause has been shown for the entry of

this Interim Order. The ability of the Debtors to obtain sufficient working capital and liquidity

through the use of Cash Collateral is vital to the Debtors’ estates and creditors. Use of Cash

Collateral will enable the Debtors to preserve the value of their estates. Among other things, entry

of this Interim Order is necessary to maximize and stabilize the value of the Debtors’ assets and to




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avoid immediate and irreparable harm to the Debtors and their estates, and, accordingly, is in the

best interests of the Debtors, their estates and its creditors.

            N.   Good Faith. This Interim Order has been the subject of extensive negotiations

conducted in good faith and at arm’s length between and among the Debtors and Equity Bank.

Any financial accommodations made to the Debtors by Equity Bank pursuant to this Interim

Order shall be deemed to have been extended by Equity Bank in good faith, as that term is used in

section 363(m) of the Bankruptcy Code, and Equity Bank shall be entitled to all protections and

benefits afforded thereby.

            O.   Immediate Entry of Interim Order. The Debtors have requested immediate entry of

this Interim Order pursuant to Bankruptcy Rule 4001(b)(2). The permission granted herein to use

the Cash Collateral is necessary to avoid immediate and irreparable harm to the Debtors. This

Interim Order shall not be stayed and shall be valid and fully effective immediately upon entry,

notwithstanding the possible application of Bankruptcy Rules 6004(h), 7062, and 9014, or

otherwise, and the Clerk of this Court is hereby directed to enter this Interim Order on this

Court’s docket in this Case.

            P.   Based upon the foregoing stipulations, and upon the record made before this Court

at the Hearing, and good and sufficient cause appearing therefor, this Court concludes that entry

of this Interim Order is in the best interests of the Debtors’ estates and creditors. Based upon the

foregoing stipulations, and upon the record made before this Court at the Hearing, and good and

sufficient cause appearing therefor;

            IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

            1.   The Motion is GRANTED, on an interim basis, as set forth herein.




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            2.   Based on the record presented to this Court at the Interim Hearing, the terms of the

Debtors’ proposed use of the Cash Collateral are fair and reasonable, and reflect the exercise of

prudent business judgment by the Debtors and their respective officers and directors consistent

with their fiduciary duties.

            3.   The Debtors are authorized to use Cash Collateral during the period from the

Petition Date through and including the Termination Date (as defined below) subject to and solely

in accordance with the terms, conditions, and limitations set forth in this Interim Order and the

Budget, without further approval by this Court; provided that (a) all use of cash by the Debtors

shall be deemed to be made first from any cash that is not Cash Collateral and thereafter from the

Cash Collateral and (b) neither the Debtors nor any other party in interest (including any party in

interest that is granted standing by this Court pursuant to paragraphs 15 and 16 below) shall be

authorized to use the Cash Collateral for any purpose relating to or in furtherance of an Adverse

Lender Action (as defined below), including without limitation the payment of professional fees

relating to such matters. “Adverse Lender Action” means any assertion, claim, counter-claim,

action, proceeding, application, motion, objection, defense or other contested matter: (i)

challenging the legality, validity, or enforceability of the Credit Agreement and other loan

documents; (ii) challenging the legality, validity, priority or enforceability, or seeking to

invalidate, set aside, avoid or subordinate, in whole or in part, any Pre-Petition Lien; or (iii)

seeking to prevent, hinder or delay the assertion or enforcement by Equity Bank of any right,

remedy, claim, benefit or privilege of, or lien or interest in favor of Equity Bank in the Pre-

Petition Collateral or realization upon any of the Pre-Petition Collateral. The Budget may be

modified provided that the Debtors obtain the written consent of Equity Bank, without further

order of this Court, upon the filing of a copy of the modified Budget with this Court and each




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such Budget shall be referred to herein as a “Budget”. The Debtor’s use of Cash Collateral may

vary weekly by 10% on any line item basis (other than with respect to the amounts set forth in the

Budget for taxes and utility expenses which the Debtors are authorized to pay in full in the

amount reflected on any bill for taxes or utility services incurred); provided that the Debtors’ use

of Cash Collateral on an aggregate basis does not vary from the aggregate amount authorized in

the Budget.

            4.   Equity Bank has agreed to a Carve-Out of its Pre-Petition Collateral in an amount

equal to the sum of (a) all fees required to be paid to the clerk of the Court or any claims and

noticing agent acting in such capacity and to the Office of the U.S. Trustee under section

1930(a)(6) of title 28 of the United States Code and (b) allowed claims for unpaid fees, costs, and

expenses (the “Allowed Fees”) of the Debtors’ professional fees to include Cash Collateral in the

amount of: (i) $300,000 subject to Court approval under 11 U.S.C. § 330 for fees and expenses

incurred by counsel for the Debtor (Kelly Hart LLP) and its restructuring advisor (CR3 Partners

LLC) for services beginning on the Petition Date and rendered up through and including the

earlier to occur of (x) the Termination Date (as defined below) and (y) entry by this Court of an

additional interim or final order authorizing use of Cash Collateral (the “Carve-Out”). All such

payments shall be subject to the provisions of 11 U.S.C. § 327, 11 U.S.C. § 329 and 11 U.S.C. §

330. Notwithstanding anything to the contrary in this Interim Order or any subsequent interim or

final order relating to use of Cash Collateral, the Carve-Out (including any amendment or

modification thereto) shall be reduced dollar-for-dollar by such of Debtors’ post-petition net cash

deemed by the Court not to be proceeds of the Pre-Petition Collateral.

            5.   Subject to the Carve-Out, the consent of Equity Bank to the Budget shall not be

construed as a commitment to permit the use of Cash Collateral after the occurrence of an Event




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of Default (as defined below), regardless of whether the aggregate funds shown on the Budget

have been expended after the date of default.

            6.   Except in the ordinary course of business or as expressly authorized by an order of

this Court, and in either case, only as set forth in the Budget, as applicable, the Debtors shall not

make any advances to any person or entity including, without limitation, any affiliate of the

Debtors.

            7.   Any amendments, supplements, or modifications to the Budget must be consented

to in writing by Equity Bank, prior to the implementation thereof, and shall not require further

notice, hearing, or court order. Nothing herein shall prevent the Debtors and Equity Bank from

authorizing the use of Cash Collateral for additional expenses upon such other terms and

conditions as may be mutually agreed upon.

            8.   Equity Bank (a) may assume the Debtors will comply with the Budget, (b) shall

have no duty to monitor such compliance, and (c) shall not be obligated to pay (directly or

indirectly from the Pre-Petition Collateral or otherwise) any unpaid expenses incurred or

authorized to be incurred pursuant to the Budget, except as required by this Interim Order.

            9.   Upon the entry of the Final Order, the Debtors shall irrevocably waive and shall be

prohibited from asserting any surcharge claim, under section 506(c) of the Bankruptcy Code or

otherwise, for any costs and expenses incurred from the Petition Date to the Termination Date in

connection with the preservation, protection or enhancement of, or realization by Equity Bank

upon all or any portion of the Pre-Petition Collateral and in no event shall such parties be subject

to the equitable doctrine of marshaling or any similar doctrine with respect to all or any portion of

the Pre-Petition Collateral.




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            10.     As adequate protection for the use of Cash Collateral, Equity Bank is hereby

granted adequate protection as follows:

                  (i)      Replacement Liens. Subject to any otherwise unavoidable and duly

            perfected liens existing on the Petition Date, Equity Bank is hereby granted continuing,

            valid, automatically perfected nonavoidable and enforceable replacement liens (the

            “Replacement Liens”), in and upon all of the assets (and proceeds thereof) of the Debtors

            described in the Credit Agreement and the other loan documents including but not limited

            to, accounts receivable, and Cash Collateral, whether such property (or proceeds thereof)

            was owned on the Petition Date or acquired by any Debtor after the Petition Date

            (excluding all causes of action under chapter 5 of the Bankruptcy Code (the “Avoidance

            Actions”). The Replacement Liens granted herein: (a) are in addition to the Pre-Petition

            Liens; (b) are and shall be valid, perfected, enforceable, and effective as of the date of the

            entry of this Interim Order without further action by the Debtors or Equity Bank, and

            without the necessity of the execution, filing, or recordation of any financing statements,

            security agreements, mortgages, or other documents; (c) shall secure the payment of

            indebtedness to Equity Bank to the fullest extent of the law, of the Cash Collateral and any

            other Pre-Petition Collateral; and (d) except for ad valorem property taxes, shall not

            hereafter be subordinated to or made pari passu with any other lien or security interest

            arising after the Petition Date under Bankruptcy Code section 364(d) or otherwise, absent

            the consent of Equity Bank. The Replacement Liens shall have the same priority as existed

            on the Petition Date. If, however, Equity Bank, in its sole discretion, shall determine to

            file any such financing statements, mortgages, notices of lien or similar instruments, or to

            otherwise confirm perfection of such Replacement Liens, the automatic stay is hereby




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            lifted to allow the filing and recording of a certified copy of this Interim Order or any such

            financing statements, mortgages notices of lien or similar instruments, and all such

            documents shall be deemed to have been filed or recorded on the date of this Interim

            Order.

                (ii)       Adequate Protection Superpriority Claims. As further adequate protection

            of the interests of Equity Bank in the Pre-Petition Collateral against any diminution in

            value of such interests caused by a failure of adequate protection under § 507(b) of the

            Bankruptcy Code, Equity Bank is hereby granted, subject to the Carve-Out, as and to the

            extent provided by section 507(b) of the Bankruptcy Code, an allowed superpriority

            administrative expense claim in each Debtor’s Case and any Successor Cases (the

            “Adequate Protection Superpriority Claims”).

               (iii)       Priority of the Adequate Protection Superpriority Claims. Except as set

            forth herein, the Adequate Protection Superpriority Claims shall have priority over all

            administrative expense claims and unsecured claims against the Debtors or their estates,

            now existing or hereafter arising, of any kind or nature whatsoever; provided, however,

            that the Adequate Protection Superpriority Claims shall be subject to the Carve-Out.

            Notwithstanding any provisions of the Interim Order, no Adequate Protection Liens shall

            attach to, and no Adequate Protection Superpriority Claims shall be recoverable from

            avoidance actions unless otherwise ordered by this Court.

                (iv)       Payment of Equity Bank Costs and Expenses. All reasonable out-of-pocket

            costs and expenses of Equity Bank, including, without limitation, reasonable legal,

            accounting, collateral examination, monitoring and appraisal fees and disbursements,

            financial advisory fees, fees and expenses of other consultants, indemnification and




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            reimbursement obligations with respect to fees and expenses, and other out of pocket

            expenses, whether or not contained in the Budget and without limitation with respect to

            the dollar estimates contained in the Budget (provided, however, that such overages shall

            not weigh against the Debtors in any testing related to compliance with the Budget), shall

            be subject to a determination of secured status by the Court under § 506(a) of the

            Bankruptcy Code.

                (v)        Reporting. Debtors shall timely provide Equity Bank, the Committee, if

            appointed, and the U.S. Trustee with (a) (i) a current accounts receivable ledger, (ii) a

            current accounts payable ledger (iii) a monthly report comparing actual collections and

            expenditures (by expense category) on a cash basis to those set forth in the Budget (a

            “Reconciliation Report”); and (iv) monthly financial statements to be delivered to Equity

            Bank not later than twenty (20) days after the conclusion of each month in which any

            Debtor uses Cash Collateral, (b) all documents and information submitted by Debtors to

            the United States Trustee, and (c) upon the reasonable request of Equity Bank, such other

            information pertaining to each Debtor’s operations, financial affairs, and the Pre-Petition

            Collateral.

                (vi)       Access to Collateral. Upon the request of Equity Bank, the Debtors shall

            permit Equity Bank, respectively, reasonable access to the Pre-Petition Collateral and each

            Debtor’s books and records to conduct inspections and audits.

               (vii)       Successor Case. The adequate protection granted to Equity Bank in this

            order, including without limitation the Replacement liens, shall be enforceable against the

            Debtors, their estates, and any successors thereto, including without limitation, any trustee

            or other estate representative appointed in this Chapter 11 case, any case under Chapter 7




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            of the Bankruptcy Code upon a conversion, or in any other proceeding superseding or

            related to any of the foregoing (collectively, the “Successor Case”).

              (viii)       No Avoidance of Adequate Protection Payments or Replacement Liens.

            Subject to paragraphs 15 and 16, the payments to Equity Bank authorized in this Interim

            Order and the Replacement Liens shall not be subject to sections 510, 549, or 550 of the

            Bankruptcy Code and shall not be subject to subordination, impairment, or avoidance for

            all purposes in this Case and any Successor Case.

            11.    From the Petition Date to the Termination Date, the Debtors shall not in any way

prime Equity Bank’s Pre-Petition Liens by offering a subsequent lender or any party-in-interest

(including any party-in-interest which may file an administrative expense claim) a superior or

pari passu lien or claim with respect to the Pre-Petition Collateral pursuant to section 364(d) of

the Bankruptcy Code, or otherwise.

            12.    The Debtors’ right to use the Cash Collateral on a consensual basis pursuant to this

Interim Order shall terminate (the date of any such termination, the “Termination Date”) on the

earliest of the following: (a) consummation of a plan of reorganization in this Case; (b) February

6, 2019, if the Final Order has not been entered by this Court on or before such date or such later

date as Equity Bank may agree; or (c) in the event of a federal government shut-down which

causes the unavailability of courts, two weeks from the end of such shut-down; or (d) upon

written notice by Equity Bank to the Debtors after the occurrence and continuance of any of the

following events (“Events of Default”) beyond any applicable grace period:

                   (i)     Failure of the Debtors to comply in any material respect with the terms of

            this Interim Order and such failure continues without remedy for more than five (5)

            business days after written notice thereof is provided to the Debtors as required herein;




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                   (ii)    Granting, creating, incurring or suffering to exist by any Debtor any liens

            or security interests other than: (A) those granted pursuant to this Interim Order; (B)

            carriers’, mechanics’, operator’s, warehousemen’s, repairmen’s or other similar liens

            arising in the ordinary course of business for amounts outstanding as of the Petition Date,

            even if recorded after the Petition Date; (C) pledges or deposits in connection with

            workers’ compensation, unemployment insurance and other social security legislation; (D)

            deposits to secure the payment of any post-petition statutory obligations, performance

            bonds and other obligations of a like nature incurred in the ordinary course of business;

            and (E) any other liens or security interests that are junior to the Pre-Petition Liens and

            that a Debtor is permitted to incur under the Credit Agreement;

                   (iii)   Entry of any order reversing, amending, supplementing, staying, vacating

            or otherwise modifying this Interim Order without the written consent of Equity Bank.

                   (iv)    Entry of an order granting relief from the automatic stay to the holder or

            holders of any security interest (other than Equity Bank) to permit foreclosure (or the

            granting of a deed in lieu of foreclosure or the like) on any material assets of any Debtor;

                   (v)     From the Petition Date to the Termination Date, the creation of any claims

            or charges, or the entry of any order of this Court authorizing any claims or charges, other

            than as permitted under this Interim Order, entitled to superpriority under section

            364(c)(1) of the Bankruptcy Code pari passu or senior to the Pre-Petition Obligations, or

            there shall arise or be granted by this Court (A) any claim having priority over any or all

            administrative expenses of the kind specified in clause (b) of section 503 or clause (b) of

            section 507 of the Bankruptcy Code, including the 507(b) Claims, or (B) any lien on the

            Pre-Petition Collateral or Post-Petition Collateral having a priority senior to or pari passu




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            with the liens and security interests granted herein, except as expressly provided in the

            Credit Agreement or in this Interim Order (but only in the event specifically consented to

            by Equity Bank), whichever is in effect;

                   (vi)    Any filing by any Debtor of any motion, pleading, application or adversary

            proceeding challenging the validity, enforceability, perfection or priority of the Pre-

            Petition Liens securing the Pre-Petition Obligations or asserting any other cause of action

            against and/or with respect to the Pre-Petition Obligations, the Pre-Petition Collateral, or

            Equity Bank (or if the Debtor supports any such motion, pleading, application or

            adversary proceeding commenced by any third party);

                   (vii)   Commencing, joining, assisting or otherwise participating as an adverse

            party by any Debtor or any of its subsidiaries or affiliates in any suit or other proceeding

            against Equity Bank relating to the Pre-Petition Obligations;

                   (viii) Dismissing or converting this proceeding to a Chapter 7 case, or appointing

            a Chapter 11 Trustee with plenary powers, a responsible officer, or an examiner with

            enlarged powers relating to the operation of the businesses of the Debtors (powers beyond

            those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code); provided that the

            appointment by this Court of a trustee or other fiduciary of any Debtor’s estate for the

            limited purpose of investigating, commencing or prosecuting Avoidance Actions on behalf

            any Debtor’s estate shall not constitute a default under this subparagraph;

                   (ix)    Terminating or reducing by the Court the period pursuant to section 1121

            of the Bankruptcy Code during which any Debtor has the exclusive right to file a plan or

            plans and solicit acceptances thereof.




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            13.   If any Debtor defaults under the terms of this Interim Order, the Debtors are

entitled to written notice. Notice shall be sent to proposed counsel for the Debtor, Kelly Hart LLP,

201 Main Street, Suite 2500, Fort Worth, Texas 76102 (Attn: Michael A. McConnell, Esquire)

and counsel for the Committee, if appointed. If the default is not cured within five (5) business

days from the date such notice is provided, the Debtors’ authority to use Cash Collateral under the

terms of this Interim Order shall automatically terminate.

            14.   Subject to paragraphs 15 and 16, each Debtor on behalf of itself and each of its

successors and assigns, including a chapter 7 trustee, has stipulated and is hereby deemed: (a) to

release and discharge Equity Bank, in its respective capacity as such, together with each of its

respective agents, attorneys, employees, heirs, executors, administrators, officers, directors,

successors and assigns, from any and all claims, causes of action and remedies (whether under the

Bankruptcy Code or other applicable law) arising out of, based upon or related to the Pre-Petition

Obligations, the Pre-Petition Liens or the Pre-Petition Collateral; and (b) to waive any and all

defenses (including, without limitation, offsets and counterclaims of any nature or kind) as to the

validity, perfection, priority, enforceability, amount and nonavoidability (under the Bankruptcy

Code or otherwise) of the Pre-Petition Obligations and the Pre-Petition Liens upon the Pre-

Petition Collateral, “lender liability” claims and causes of action, any Avoidance Actions or any

other claims and causes of action.       The stipulations, releases and waivers set forth in this

paragraph and in any other paragraph of this Interim Order are deemed effective upon the date of

entry of this Interim Order, but are expressly without prejudice to the rights of any Committee or

any other party with standing to challenge the validity of the liens and claims asserted by Equity

Bank, or otherwise seek to prosecute claims held by the Debtor’s estate(s) against Equity Bank, in

accordance with and subject to the provisions of Paragraph 16 below.




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            15.   As a result of the Debtors’ review of the Credit Agreement and other loan

documents and the facts related thereto, each Debtor has made certain agreements and

acknowledgments as set forth in paragraphs I(1)-(8) above and shall have no right to file a

complaint pursuant to Bankruptcy Rule 7001 or otherwise, or any other pleading asserting a claim

or cause of action arising out of or related to the Credit Agreement and other loan documents or

any transactions or course of conduct related thereto. Each Debtor’s acknowledgements and

stipulations set forth in paragraphs I(1)-(9) above (the “Debtors’ Stipulations”) became binding

upon each Debtor in all circumstances upon entry of this Interim Order.              The Debtors’

Stipulations shall be binding upon each other party in interest, including the Committee (or if no

Committee is formed, any party in interest granted standing by this Court prior to the expiration

of the Challenge Period), unless the Committee (or such party in interest granted standing)

commences, not later than the earlier of seventy-five (75) days following the Petition Date or

sixty (60) days following the formation of the Committee, or such later date as Equity Bank

agrees in writing to grant to such parties in interest (such time period shall be referred to as the

“Challenge Period,” and the date that is the next calendar day after the expiration of the

Challenge Period in the event that either (a) no Challenge (as defined below) is properly raised

during the Challenge Period or (b) with respect only to a properly filed Challenge, such Challenge

is fully and finally adjudicated, shall be referred to as the “Challenge Period Termination

Date”)), (i) a contested matter, adversary proceeding, or other action or “claim” (as defined in the

Bankruptcy Code) challenging or otherwise objecting to the admissions, stipulations, findings, or

releases included in the Debtors’ Stipulations, or (ii) a contested matter, adversary proceeding, or

other action against any Pre-Petition Secured Party in connection with or related to (A) the Pre-

Petition Obligations, (B) the pre-petition business relationship between or conduct of any of the




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Pre-Petition Secured Party with each Debtor, (C) the actions or inactions of the Pre-Petition

Secured Party arising out of or related to the Pre-Petition Obligations or otherwise, including,

without limitation, any claim against the Pre-Petition Secured Party in the nature of an “equitable

subordination,” “lender liability,” “deepening insolvency” or “control person” liability, (D) any

setoff, offset, recoupment, counterclaim, or defense to the Pre-Petition Obligations (including, but

not limited to, those under sections 506, 544, 547, 548, 549, 550, and/or 552 of the Bankruptcy

Code), or (E) any Avoidance Action ((i) and (ii) collectively, the “Challenges” and, each

individually, a “Challenge”), and second, obtains a final, non-appealable order in favor of such

party in interest sustaining any such Challenge in any such timely-filed contested matter,

adversary proceeding, or other action.

            16.   In the event that a chapter 7 trustee or a chapter 11 trustee is appointed during the

Challenge Period, the trustee’s Challenge Period shall be the later of the Challenge Period

provided for in the Interim Order, or sixty (60) days from the appointment of a trustee provided

such appointment occurs prior to expiration of the Challenge Period.

            17.   Upon the Challenge Period Termination Date and for all purposes in this Case and

any Successor Case, (a) all payments made to or for the benefit of the Pre-Petition Secured Party

pursuant to, or otherwise authorized by, this Interim Order or otherwise (whether made prior to,

on, or after the Petition Date) shall be indefeasible and not be subject to counterclaim, set-off,

subordination, recharacterization, defense, or avoidance, (b) any and all such Challenges by any

party in interest shall be deemed to be forever released, waived, and barred, (c) the Pre-Petition

Obligations shall be deemed to be a fully allowed secured claim within the meaning of section

506 of the Bankruptcy Code (which claim and liens shall have been deemed satisfied in full by

the repayment of the Pre-Petition Obligations), (d) the Pre-Petition Obligations shall be deemed to




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be a fully allowed claim, and (e) the Debtors’ Stipulations and the releases in paragraphs I(1)-(8)

shall be binding on all parties in interest, including the Committee or any trustee appointed in this

Case or any Successor Case.

            18.   Adequate Protection Reservation. Nothing herein shall impair or modify the

application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

provided to Equity Bank hereunder is insufficient to compensate for any diminution in value of its

interests in the Pre-Petition Collateral during the Case or any Successor Cases.

            19.   Modification of Automatic Stay. The automatic stay imposed under section

362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms

and provisions of this Interim Order, including, without limitation, to: (i) permit the Debtors to

grant the Adequate Protection Liens and Adequate Protection Superpriority Claims; (ii) permit the

Debtors to perform such acts as Equity Bank may reasonably request to assure the perfection and

priority of the liens granted herein; (iii) permit the Debtors to incur all liabilities and obligations

to Equity Bank under this Interim Order; and (iv) authorize the Debtors to pay, and Equity Bank

to retain and apply, payments made in accordance with the terms of this Interim Order.

            20.   Upon entry of this Interim Order by this Court, the terms of this Interim Order

shall become valid and binding upon and inure to the benefit of the Debtors, Equity Bank, all

other creditors of the Debtors, any Committee, and all other parties in interest and their respective

successors and assigns, including, without limitation, any trustee or any fiduciary hereafter

appointed in this Case, any Successor Case, or upon dismissal of this Case or Successor Case.

            21.   The terms and conditions of this Interim Order and any actions taken pursuant

hereto shall survive entry of an order which may be entered: (a) confirming any plan of

reorganization in the Case; (b) converting this Case to a case under Chapter 7 of the Bankruptcy




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Code; (c) dismissing this Case or any Successor Case; or (d) pursuant to which this Court abstains

from hearing any of this Case or Successor Case.

            22.   If any or all of the provisions of this Interim Order are hereafter reversed,

modified, vacated or stayed, such reversal, modification, vacation or stay shall not affect (i) the

validity of any adequate protection obligations owing to Equity Bank incurred prior to the actual

receipt by Equity Bank, as applicable, of written notice of the effective date of such reversal,

modification, vacation or stay, or (ii) the validity or enforceability of any claim, lien, security

interest or priority authorized or created hereby.             Notwithstanding any such reversal,

modification, vacation or stay, any use of Pre-Petition Collateral, including Cash Collateral or

adequate protection obligations owing to Equity Bank by any Debtor prior to the actual receipt by

Equity Bank, as applicable, of written notice of the effective date of such reversal, modification,

vacation or stay, shall be governed in all respects by the provisions of this Interim Order, and

Equity Bank shall be entitled to all of the rights, remedies, protections and benefits granted under

section 364(e) of the Bankruptcy Code and this Interim Order with respect to all uses of

Collateral, including Cash Collateral, and the adequate protection obligations owing to Equity

Bank

            23.   The failure or delay by Equity Bank to exercise any rights and remedies under this

Interim Order shall not constitute a waiver of any of the rights of such party hereunder, thereunder

or otherwise, and any single or partial exercise of such rights and remedies against the Debtor or

any collateral shall not be construed to limit any further exercise of such rights and remedies.

            24.   This Court hereby expressly retains jurisdiction over all persons and entities, to

enforce the terms of this Interim Order and to adjudicate any and all disputes in connection

herewith.




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            25.   The Final Hearing on the Motion shall be held on _________, 2019, at__:__ _.m.,

prevailing Central Time. Any objections or responses to entry of a Final Order on the Motion

shall be filed on or before 4:00 p.m., prevailing Central Time, on _________, 2019, and shall be

served on: (a) the Debtor, [_____], Attn:[____]; (b) proposed counsel to the Debtor, Kelly Hart,

201 Main Street, Suite 2500, Fort Worth, Texas 76102 (Attn: Michael A. McConnell, Esquire,

(c) counsel to any statutory committee appointed in this Case; (e) counsel to Equity Bank, Norton

Rose Fulbright US LLP, 2200 Ross Avenue, Suite 3600, Dallas, Texas 75201 (Attn: Toby L.

Gerber, Esquire) and Hinkle Law Firm LLC, 1617 North Waterfront Parkway, Suite 40, Wichita,

Kansas 67206-6639 (Edward J. Nazar, Esquire); and (f) the Office of the United States Trustee

for the Northern District of Texas, Earle Cabell Federal Building, 1100 Commerce Street, Room

976, Dallas, Texas 75242 (Attn: Lisa L. Lambert, Assistant United States Trustee). In the event

no objections to entry of the Final Order on the Motion are timely received, this Court may enter

such Final Order without need for the Final Hearing.

  ****************************** END OF ORDER ******************************




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